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16

17                            UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF ARIZONA
18
19 In re Application of                           Case No.:
20
     iFinex Inc.                                  DECLARATION OF GIANCARLO
21                                                DEVASINI IN SUPPORT OF
            Applicant,                            APPLICATION TO CONDUCT
22
                                                  DISCOVERY PURSUANT TO 28 U.S.C. §
23 For the Issuance of a Subpoena for the         1782
     Taking of a Deposition and the Production
24 of Documents for use in a Foreign

25 Proceeding Pursuant to 28 U.S.C. § 1782

26
           I, Giancarlo Devasini, declare:
27
           1.      I am the Chief Financial Officer for iFinex Inc. (“iFinex”) and have held that
28
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 1 position during all relevant times mentioned in the following declaration. I submit this

 2 declaration in support of iFinex’s Application to Conduct Discovery Pursuant to 28 U.S.C. §

 3 1782, and based on my personal knowledge; the examination of records and documents

 4 contained in the files of iFinex and maintained in the regular course of business; and in

 5 certain matters and where so indicated, upon information and belief.
            iFinex’s Business
 6
            2.     iFinex operates a leading global virtual currency platform operating under the
 7
     brand and trade name of Bitfinex, specifically, on and through www.bitfinex.com. Bitfinex
 8
     provides a technology platform for customers—both business and individuals—to engage in
 9
     the trade of digital tokens (e.g., bitcoin and Ethereum) using U.S. dollars, Euros, British
10
     pounds, and/or Japanese yen. iFinex is incorporated in the British Virgin Islands.
11
            3.     Before using Bitfinex’s platform, customers must enter into a contract with
12 Bitfinex agreeing to their terms of service, which are publicly available on the Bitfinex

13 website. Customers wishing to deposit fiat currency—such as U.S. dollars, Euros, British

14 pounds or Japanese yen—on the platform must go through an extensive due diligence

15 process. iFinex also has in place standards to monitor transactions, assess risks, and file

16 Suspicious Activity Reports (commonly referred to as a SAR) and other reports required by

17 applicable law.

18          4.     Customers who want to purchase virtual currency through Bitfinex using fiat

19 currency must first deposit their funds into their Bitfinex account. Once fiat is deposited, they
     may trade those funds for digital tokens with other users. They may then withdraw those
20
     digital tokens. They may, alternately, withdraw unused fiat currency from Bitfinex or fiat
21
     currency that is the proceeds from future trading.
22
            5.     For these platforms to work, customers depend on iFinex’s ability to receive
23
     and send fiat currency. This concept is similar, but not the same, to a customer of a U.S.
24
     financial institution having access to her money from a branch, on demand.
25
            6.     Until early 2017, customers who sought to deposit fiat currency into their
26 Bitfinex account could do so by interbank wire transfer, transferring funds from their own

27 bank accounts into certain bank accounts held by iFinex in Taiwan. In early 2017, however,

28 certain U.S. banks successfully pressured iFinex’s Taiwanese banks into discontinuing this
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 1 arrangement.

 2          7.      Without a readily available banking solution, iFinex turned to a third-party
 3 payment processor doing business as “Crypto Capital.”

 4          iFinex’s Agreement with Crypto Capital

 5          8.      Crypto Capital marketed itself as enabling its customers to deposit and
     withdraw fiat funds instantly to certain virtual currency exchanges including, at the time,
 6
     Bitfinex. In late 2014, Crypto Capital agreed to act as a payment processor 1 for the Bitfinex
 7
     exchange, although the large majority of processing activity did not commence until 2017.
 8
     That is, when Bitfinex customers sought to deposit fiat currency into their Bitfinex accounts,
 9
     Bitfinex would provide customers with banking details to which the deposits were to be
10
     remitted by bank wire, as well as certain identifiers to include in the wire details. Crypto
11
     Capital represented that the accounts receiving customer deposits were owned and operated
12 by Crypto Capital or its related entities.

13          9.      Once Crypto Capital received funds transmitted, it would use the identifier to
14 allocate deposits to a Bitfinex account and communicate receipt of the deposit to Bitfinex.

15 Generally, Bitfinex would log onto the Crypto Capital platform to confirm that the wire was

16 received and approve the deposit receipt. At that point, the funds were made available to the

17 Bitfinex customer on the Bitfinex platform. Pursuant to the parties’ agreement, Crypto

18 Capital would hold these funds on behalf of Bitfinex, but would also transfer funds to
19 Bitfinex on demand.
            10.     Customer withdrawals processed by Crypto Capital were handled similarly. A
20
     Bitfinex customer would submit a withdrawal request to Bitfinex. Bitfinex would log onto the
21
     Crypto Capital platform and fill in the beneficiary details provided by the customer. Bitfinex
22
     would then approve the withdrawal request and Crypto Capital would settle the withdrawal
23
     by remitting the funds to the Bitfinex customer from a bank account owned by Crypto
24
     Capital.
25

26
            1
27             Broadly speaking, a “payment processor” is a third party that facilitates financial
     transactions between parties.
28
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 1          11.     As part of the parties’ agreement, besides a nominal fee for each deposit or
 2 withdrawal, Crypto Capital charged no fee for these services to iFinex because it was able to

 3 earn substantial interest on the funds it held on iFinex’s behalf in its accounts. Crypto

 4 Capital’s agreement to act as a payment processor was made by one of its principals—an

 5 individual who identified himself to me as Oz “Joseph.” In 2019, I learned that Mr. Joseph’s
     last name was actually “Yosef.” Yosef was my primary contact at Crypto Capital and I had
 6
     numerous communications with him by phone and text from the 2017 through early 2019.
 7

 8
            iFinex Begins to Discover Crypto Capital’s Malfeasance
 9
            12.     From early 2017 through late 2018, Bitfinex customers transferred more than
10
     $1.5 billion to various bank accounts purportedly held or controlled by Crypto Capital. By
11
     July 2018, the amount Crypto Capital held and owed to iFinex exceeded $1 billion. I believe
12 there were largely two reasons for this large balance: (1) an increasing interest in virtual

13 currency trading and investment, leading to increasing amounts being transferred by Bitfinex

14 customers; and (2) institutional constraints on the amount of funds that could be transferred

15 between Crypto Capital accounts and iFinex’s bank accounts.

16          13.     Our relationship with Crypto Capital generally operated well. In or about March
17 or April 2018, however, we learned from news reports that Crypto Capital funds had been

18 seized by authorities in Poland as part of an investigation into potential money-laundering. At
19 the time, Yosef acknowledged to me that Crypto Capital’s Polish bank accounts had been
     frozen, but claimed that none of iFinex’s funds were affected by these actions.
20
            14.     In or about late August 2018, however, Yosef began representing to me that
21
     approximately $500 million of Bitfinex funds in both Poland and Portugal were being “held
22
     up” by regulators in both countries. From then through November 2018, Yosef repeatedly
23
     reassured me that the Bitfinex funds held in Poland and Portugal were on the verge of being
24
     released and that Crypto Capital was working diligently with local authorities to secure their
25
     release.
26          15.     In response to increasing pressure from iFinex and its attorneys for specific
27 information concerning the banking accounts that had been purportedly frozen, Yosef began

28 providing additional information in the latter part of 2018.
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 1          Current, Ongoing Foreign Proceedings Involving iFinex
 2          16.    According to Crypto Capital, approximately $355,000,000 of iFinex’s funds are
 3 being held in various currencies that were on deposit in accounts at Bank Spoldzielczy in

 4 Skierniewice, Poland. According to Crypto Capital, approximately $218,000,000 of

 5 Plaintiffs’ funds are being held in various currencies in accounts at three separate Portuguese
     banks: Banco Português de Investimento (“Banco BPI”), Bankinter, S.A. (“Banco BIC”), and
 6
     Caixa Geral de Depositos SA.
 7
            17.    Since these and other subsequent disclosures, as well our own further
 8
     investigation, we have been able to confirm that the National Prosecutor’s Office in Poland
 9
     has seized certain funds held by Crypto Capital in Bank Spoldzielczy. iFinex has filed a claim
10
     with the Prosecutor’s Office as an “Injured Party” seeking to recover funds that Crypto
11
     Capital held in Poland on their behalf. iFinex also filed a civil claim against a Polish entity
12 affiliated with Crypto Capital that was the authorized holder of the accounts at issue located

13 in Poland. Additionally, iFinex filed two criminal notifications against the representatives of

14 the Polish entity affiliated with Crypto Capital concerning fraud and appropriation.

15          18.    With respect to the funds held in the Portuguese banks identified above, we
16 have filed an application for a protective order with the Court of Cascais in the Judicial Court

17 of Western Lisbon against Global Trade and two other related companies (Eligibility

18 Criterion and MOGW) to prevent the dissipation of funds held with Caixa Geral de
19 Depósitos, Banco BPI and Banco BIC. We have also filed a separate application for
     protective order against the principals of those companies. iFinex intends to initiate a legal
20
     suit for recovery of those funds with the same court.
21
            19.    We have also learned that Crypto Capital maintained accounts with HSBC
22
     Bank PLC (“HSBC UK”) in the United Kingdom. iFinex anticipates bringing a subsequent
23
     suit in the United Kingdom in order to recover the funds.
24
            20.    Based on my communications with Yosef, and to the best of our understanding
25
     of the limited banking records he has provided, Crypto Capital did not simply receive
26 customer deposits into its various banking accounts and maintain those deposits with the

27 initial bank receiving those funds. Rather, Crypto Capital subsequently transferred funds

28 between and among various banks, including in Europe and the United States. In the U.S.
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                                       EXHIBIT “A”

                                        DEFINITIONS

       The following definitions are to be used with respect to these documents:

     A.     The “ACCOUNT” shall mean and refer to Arizona Bank & Trust Account
Number 260011499.

       B.      “ALL” shall mean each, any and all.

       C.     “BANK RECORDS” shall mean and refer to account statements, signature cards,
account applications, wire transfers (in or out), and any other DOCUMENT evidencing deposits,
withdrawals, balances and/or other account activity.

       D.      “COMMUNICATION(S)” shall mean any dissemination of information by
transmission or a statement from one person to another or in the presence of another, whether by
writing, orally or by action or conduct, including but not limited to, written notes, electronic
communications with attachments, verbal conversations and visual notations.

        E.     “DOCUMENT” is defined to be synonymous in meaning and equal in scope to
the usage of this term in Federal Rules of Civil Procedure 34(a), and shall mean any and all
information in tangible or other form, whether printed, typed, recorded, computerized, filmed,
reproduced by any process or written or produced by hand, and whether an original, draft,
master, duplicate or copy, or notated version thereof, that is in your possession, custody or
control. A draft or non-identical copy is a separate document within the meaning of this term.

        F.      “DOCUMENT” as used in this Subpoena shall also include, but not be limited to,
electronic files, other data generated by and/or stored on or through any of your computer
systems and storage media (e.g., internal or external hard drives, CD-ROM’s, floppy disks,
backup tapes, thumb drives, internet-based posting boards or any other data storage media or
mechanisms) or any other electronic data. This includes, but is not limited to: email and other
electronic communications (e.g., postings to internet forums, ICQ or any other instant messenger
messages, and/or text messages); voicemails; word processing documents; spreadsheets;
databases; calendars; telephone logs; contact manager information; Internet usage files; offline
storage or information stored on removable media; information contained on laptops or other
portable devices; and network access information. Further, this includes data in any format for
storing electronic data.

        G.      “CRYPTO CAPITAL” shall mean and refer to Crypto Capital, and its
subsidiaries, officers, directors, employees, agents, managers, members, attorneys, accountants,
investigators, representatives and anyone else acting on its behalf.
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        H.      “CRYPTO CAPITAL CORP” shall mean and refer to Crypto Capital Corp, and
its subsidiaries, officers, directors, employees, agents, managers, members, attorneys,
accountants, investigators, representatives and anyone else acting on its behalf.

        I.      “ELIGIBILITY” shall mean and refer to Eligibility Criterion (also known as
Eligibility Criterion Unip LDA), and its subsidiaries, officers, directors, employees, agents,
managers, members, attorneys, accountants, investigators, representatives and anyone else acting
on its behalf.

       J.      “FLETCHER” shall mean and refer to Diana Fletcher, and her employees, agents,
attorneys, accountants, investigators, representatives and anyone else acting on his behalf.

        K.     “FOWLER” shall mean and refer to Reginald Dennis Fowler, and his employees,
agents, attorneys, accountants, investigators, representatives and anyone else acting on his
behalf.

        L.     “T. FOWLER” shall mean and refer to Trent Dennis Fowler, and his employees,
agents, attorneys, accountants, investigators, representatives and anyone else acting on his
behalf.

        M.      “GTS SWITZERLAND” shall mean and refer to Global Trade Solutions AG, and
its subsidiaries, officers, directors, employees, agents, managers, members, attorneys,
accountants, investigators, representatives and anyone else acting on its behalf.

        N.      “GTS US” shall mean Global Trading Solutions LLC, and its subsidiaries,
officers, directors, employees, agents, managers, members, attorneys, accountants, investigators,
representatives and anyone else acting on its behalf.

        O.      “GTS UK” shall mean and refer to G.T.S. Resources Limited, and its subsidiaries,
officers, directors, employees, agents, managers, members, attorneys, accountants, investigators,
representatives and anyone else acting on its behalf.

        P.      “IDENTIFY,” with respect to banking account information, means to provide (a)
the vesting/full name on the account, (b) account number, (c) names of authorized signers on the
account, (d) address of bank branch where each account was opened, and (e) date each account
was opened.

        Q.     “IFINEX” shall mean and refer to iFinex Inc. and its subsidiaries, officers,
directors, employees, agents, managers, members, attorneys, accountants, investigators,
representatives and anyone else acting on its behalf. For the purposes of this definition, it shall
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also include and otherwise cover the commonly referred to trade name Bitfinex and its
corresponding website address at bitfinex.com.

        R.     “IWANAGA” shall mean and refer to Katsuyoshi Iwanaga, and his employees,
agents, attorneys, accountants, investigators, representatives and anyone else acting on his
behalf.

        S.     “MOLINA” shall mean and refer to Ivan Manuel Molina Lee, and his employees,
agents, attorneys, accountants, investigators, representatives and anyone else acting on his
behalf.

        T.    “MONROE” shall mean and refer to Rondell “Rhon” Clyde Monroe, and his
employees, agents, attorneys, accountants, investigators, representatives and anyone else acting
on his behalf

        U.      “NLE” shall mean and refer to NLE Consulting Group, and its subsidiaries,
officers, directors, employees, agents, managers, members, attorneys, accountants, investigators,
representatives and anyone else acting on its behalf.

        V.     “O. YOSEF” shall mean and refer to Ozzie Yosef a/k/a Ozzie Joseph, and his
employees, agents, attorneys, accountants, investigators, representatives and anyone else acting
on his behalf.

       W.      “R. YOSEF” shall mean and refer to Ravid Yosef, and her employees, agents,
attorneys, accountants, investigators, representatives and anyone else acting on his behalf.

        X.      “SPIRAL” shall mean and refer to Spiral Global Development Limited, and its
subsidiaries, officers, directors, employees, agents, managers, members, attorneys, accountants,
investigators, representatives and anyone else acting on its behalf.

        Y.     “STAFFORD” shall mean and refer to David Anthony Stafford, and his
employees, agents, attorneys, accountants, investigators, representatives and anyone else acting
on his behalf.

       Z.      “TCA BANK” shall mean and refer to TCA Investment Bancorp & Trust
Company and its subsidiaries, officers, directors, employees, agents, managers, members,
attorneys, accountants, investigators, representatives and anyone else acting on its behalf

        AA. “YOU” shall mean and refer to Arizona Bank & Trust and your subsidiaries,
officers, directors, employees, agents, managers, members, attorneys, accountants, investigators,
representatives and anyone else acting on your behalf.
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       BB. The singular shall include the plural, and the plural shall include the singular. The
conjunctive “and” shall include the disjunctive “or” and the disjunctive “or” shall include the
conjunctive “and.”

       CC. Each Document produced shall be produced as it is kept in the usual course of
business (i.e., in the file folder or binder in which such Documents were located when the
request was served) or shall be organized and labeled to correspond to the categories of
Documents requested.

       DD.     You are instructed to produce any and all Documents which are in your
possession, custody or control. Possession, custody or control includes constructive possession
whereby you have a right to compel the production of a matter from a third party (including an
agency, authority or representative).

       EE.     To the extent the location of any Document called for by this Exhibit is unknown
to you, so state. If any estimate can reasonably be made as to the location of an unknown
Document, describe the Document with sufficient particularity so that it can be identified, set
forth your best estimate of the Document’s location, and describe the basis upon which the
estimate is made.

       FF.    If any Document request is deemed to call for disclosure of proprietary data,
counsel for movant is prepared to receive such data pursuant to an appropriate confidentiality
order.

        GG. To the extent the production of any Document is objected to on the basis of
privilege, provide the following information about each such document: (1) describe the nature
of the privilege claimed (e.g., attorney-client, work product, etc.); (2) state the factual and legal
basis for the claim of such privilege (e.g., communication between attorney for corporation and
outside counsel relating to acquisition of legal services); (3) identify each person who was
present when the document was prepared and who has seen the Document; and (4) identify every
other Document which refers to or describes the contents of such Document.

        HH. If any document has been lost or destroyed, the Document so lost or destroyed
shall be identified by author, date, subject matter, date of loss or destruction, identity of person
responsible for loss or destruction and, if destroyed, the reason for such destruction.

       II.     The relevant period of time for purposes of this Subpoena is from November 1,
2016, through the present, unless otherwise specified below.
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                               ITEMS TO BE PRODUCED

       1.      ALL BANK RECORDS for the ACCOUNT.

       2.      ALL COMMUNICATIONS concerning, referring to or relating to the

ACCOUNTS.

       3.      ALL BANK RECORDS for any account for which FOWLER is a signer and/or

authorized individual.

       4.      ALL BANK RECORDS for any account held in the name of CRYPTO

CAPITAL, CRYPTO CAPITAL CORP, ELIGIBILITY, FOWLER, T. FOWLER, GTS

SWITZERLAND, GTS UK, GTS US, MOLINA, NLE, O. YOSEF, R. YOSEF, SPIRAL, and/or

TCA BANK.

       5.      ALL COMMUNICATIONS concerning, referring to or relating to any account

held in the name of CRYPTO CAPITAL, CRYPTO CAPITAL CORP, ELIGIBILITY,

FOWLER, T. FOWLER, GTS SWITZERLAND, GTS UK, GTS US, MOLINA, NLE, O.

YOSEF, R. YOSEF, SPIRAL, and/or TCA BANK.

       6.      ALL COMMUNICATIONS between or among YOU and/or CRYPTO

CAPITAL, CRYPTO CAPITAL CORP, ELIGIBILITY, FOWLER, T. FOWLER, GTS

SWITZERLAND, GTS UK, GTS US, MOLINA, NLE, O. YOSEF, R. YOSEF, SPIRAL, and/or

TCA BANK.

       7.      ALL COMMUNICATIONS between or among YOU and/or FLETCHER,

IWANAGA, MONROE, and/or STAFFORD concerning, referring to or relating to CRYPTO

CAPITAL, CRYPTO CAPITAL CORP, ELIGIBILITY, FOWLER, T. FOWLER, GTS

SWITZERLAND, GTS UK, GTS US, MOLINA, NLE, O. YOSEF, R. YOSEF, SPIRAL, and/or

TCA BANK.

       8.      ALL COMMUNICATIONS in YOUR possession, custody, or control that were

sent to or received from any banking institution concerning the transfer of funds to or from

CRYPTO CAPITAL, CRYPTO CAPITAL CORP, ELIGIBILITY, FOWLER, T. FOWLER,
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GTS SWITZERLAND, GTS UK, GTS US, MOLINA, NLE, O. YOSEF, R. YOSEF, SPIRAL,

and/or TCA BANK.

       9.      ALL DOCUMENTS concerning, referring to, or relating to the transfer of funds

to or from CRYPTO CAPITAL, CRYPTO CAPITAL CORP, ELIGIBILITY, FOWLER, T.

FOWLER, GTS SWITZERLAND, GTS UK, GTS US, MOLINA, NLE, O. YOSEF, R. YOSEF,

SPIRAL, and/or TCA BANK.

       10.     DOCUMENTS sufficient to IDENTIFY ALL banking accounts owned,

controlled, or relating to CRYPTO CAPITAL, CRYPTO CAPITAL CORP, ELIGIBILITY,

FOWLER, T. FOWLER, GTS SWITZERLAND, GTS UK, GTS US, MOLINA, NLE, O.

YOSEF, R. YOSEF, SPIRAL, and/or TCA BANK.

       11.     ALL COMMUNICATIONS in YOUR possession, custody, or control

concerning, referring to, or relating to IFINEX or Bitfinex.

       12.     ALL DOCUMENTS constituting any agreements, contracts, arrangements,

understandings or confirmations with CRYPTO CAPITAL, CRYPTO CAPITAL CORP,

ELIGIBILITY, FOWLER, T. FOWLER, GTS SWITZERLAND, GTS UK, GTS US, MOLINA,

NLE, O. YOSEF, R. YOSEF SPIRAL, and/or TCA BANK.

       13.     ALL DOCUMENTS reflecting any transfer of funds – whether by wire transfer or

otherwise – to or from CRYPTO CAPITAL, CRYPTO CAPITAL CORP, ELIGIBILITY,

FOWLER, T. FOWLER, GTS SWITZERLAND, GTS UK, GTS US, MOLINA, NLE, O.

YOSEF, R. YOSEF, SPIRAL, and/or TCA BANK.

       14.     ALL COMMUNICATIONS in YOUR possession, custody, or control, with any

bank, financial institution, or other company or individual concerning or relating to CRYPTO

CAPITAL, CRYPTO CAPITAL CORP, ELIGIBILITY, FOWLER, T. FOWLER, GTS

SWITZERLAND, GTS UK, GTS US, MOLINA, NLE, O. YOSEF, R. YOSEF, SPIRAL, and/or

TCA BANK.

       15.     ALL DOCUMENTS constituting any agreements, contracts, arrangements,

understandings or confirmations with any bank, financial institution, or other company or
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individual concerning or relating to CRYPTO CAPITAL, CRYPTO CAPITAL CORP,

ELIGIBILITY, FOWLER, T. FOWLER, GTS SWITZERLAND, GTS UK, GTS US, MOLINA,

NLE, O. YOSEF, R. YOSEF, SPIRAL, and/or TCA BANK.
